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701 South Duluth Avenue
Sioux Falls, S.D.


I do not believe that I need to, once again, relate to you what you are each guilty of, since you know
perfectly well what that is. Only know this: That I am about to file suit against each…and every…one of
you in your individual capacities on a date no later than this coming Friday, and you will pay for what
you have done out of your own pockets. This has been loads and loads of fun…but the fun is now over.
You have one and only one chance to make this right. You will return to us our daughter, Trilynn Marie
Brueggeman, and you will give us, from EACH of you, for mental anguish, emotional and mental distress
for a period of 4 years, libel, slander and defamation; and for stealing and kidnapping our daughter; in
the amount of $50000 dollars…or you will see court, and the amounts that will be asked for there will be
ASTRONOMICAL AT BEST. You will also completely exonerate my record, post haste. This is your one
and ONLY settlement letter.

This letter will be ECF filed with the court in our current case.

Thank you for your time….assholes.

“Respectfully”




Christopher, the living man.




                                           Proof of Service
  The undersigned certifies that the foregoing instrument was served upon each of the persons identified as
  receiving a copy by delivery in the following manner on the ________ day of __________________, 2018:

                                             U.S. Mail and Fax.



                  _______________________________________________
                                        Christopher, The Living Man
